        Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 1 of 15




                   IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION


KENNETH DARNELL SMITH,                     )
                                           )
      Plaintiff,                           )
v.                                         )
                                           ) CIVIL ACTION NO.
THE GEO GROUP, INC.,                       ) ________________
                                           )
      Defendant.                           )

                            COMPLAINT FOR DAMAGES

      COMES NOW Plaintiff Kenneth D. Smith and hereby files his Complaint

against Defendant as follows:

                                 INTRODUCTION

                                          1.

      This is a medical negligence action brought under Georgia law in which

federal jurisdiction is based solely upon diversity of citizenship.

                          JURISDICTION AND VENUE

                                          2.

      This Court has subject matter jurisdiction under 28 U.S.C. §1332 because

there is diversity of citizenship between the parties and the amount in controversy

exceeds the minimum jurisdictional limit of $75,000.

                                           1
        Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 2 of 15




                                          3.

      Venue is proper in this Court pursuant to 28 U.S.C. §1391 and other

applicable law because the cause of action arose in Baldwin County, Georgia,

which is situated within the district and divisional boundaries of the Macon

Division of the Middle District of Georgia.

                                          4.

      The parties are subject to the personal jurisdiction of this Court.

                                     PARTIES

                                          5.

      Plaintiff Kenneth Darnell Smith (hereafter “Plaintiff” or “Smith”) is a citizen

of the United States who is domiciled in the state of California.

                                          6.

      Defendant GEO Group, Inc. (hereafter “Defendant” or “GEO”) is a Florida

for-profit corporation having its principal place of business in Florida that is

licensed to do business in Georgia. Defendant may be served through its Georgia

Registered Agent, Corporate Creations Network, Inc., at 2985 Gordy Parkway,

First Floor, Marietta, Georgia 30066.

                                          7.

      At all times relevant herein, Defendant GEO has operated Riverbend

                                          2
        Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 3 of 15




Correctional Facility in Milledgeville, Georgia and has employed doctors, nurses

and other medical providers to service the medical needs of the inmates at that

institution. For purposes of this lawsuit, said doctors, nurses and providers are

considered agents or employees of GEO who acted within the scope of their

agency or employment at all times relevant herein in order to avoid the

inconvenience and imposition of naming all such individuals as defendants.

                                      FACTS

                                         8.

      Paragraphs 1 thru 7 are incorporated by reference as if fully alleged herein.

                                         9.

      Plaintiff Kenneth Smith entered the custody of the Georgia prison system in

September 2014. An intake history and physical was completed on September 10,

2014. His past medical history included a history of chronic low back pain,

hyperlipidemia and hypertension. He was transferred to Riverbend Correctional

Facility in January 2015, where he came under the care of GEO’s Riverbend

medical staff.

                                        10.

      At Riverbend, Smith was seen by a physician’s assistant on March 10, 2015

after a sick call request, at which time he complained of bilateral leg numbness.

                                         3
           Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 4 of 15




He was examined but the extent of the exam is unclear. A physician referral was

made and occurred on March 16, 2015 when he was seen by Dr. Ekwunife. Dr.

Ekwunife documented Smith’s complaint of worsening radiculopathy pain. Dr.

Ekwunife also found positive straight leg raising in both legs but did not test

strength or evaluate the gait. Positive straight leg raising was an indication of

pressure on his nerves pressure and in conjunction with worse pain suggested

disease progression. No imaging or diagnostic studies were ordered. Despite

evidence of possible disease progression the section about patient education was

blank. An order for follow-up in five weeks was written.

                                        11.

       He submitted another sick call request complaining about “severe back

pain” and also reporting vision problems, dated April 13, 2015. Nurse Harrison

processed the form the next day and wrote for an urgent sick call. He saw Dr.

Ekwunife again on April 28, 2015. Despite complaints of worsening back pain,

there is no indication that Smith’s back was examined. A lumber spine x-ray was

ordered.

                                        12.

      Smith saw Dr. Ekwunife again on May 20, 2015. The space on the form to

record his symptoms is blank and it does not appear that he was asked. According

                                         4
        Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 5 of 15




to the note, his gait was normal, he exhibited normal flexion and straight leg

raising was normal on both sides.

                                         13.

      On June 15, 2015, Smith submitted another sick call request. On the form

he wrote, “URGENT Loss of power and function on the right side of my body.”

The following day, he was seen by a facility nurse who wrote that Smith was

reporting that he was unable to grip with his right hand as well as weakness in his

right leg. On exam, weakness of the right hand was found as well as an abnormal

gait. It does not appear that the physician was notified.

                                         14.

      Smith saw Dr. Ekwunife on June 22, 2015 who recorded a history of neck

pain that started two weeks prior with pain radiating into his right arm. Prior

history of neck injury in 2008 was also noted. A diagnosis of possible cervical

radiculopathy was made and an x-ray of the cervical spine was ordered.

                                         15.

      He was seen the next day by Dr. Mbanefo who documented weakness of

three fingers on Smith’s right hand that he also attributed to possible cervical

radiculopathy. Ibuprofen was ordered as well as a return visit in three weeks.




                                          5
         Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 6 of 15




                                        16.

        Smith received counseling about missed doses of medication on June 26,

2015.    When he was interviewed, he reported that he was having difficulty

standing that caused him to miss pill call. He was issued a cane.

                                        17.

        Another sick call request was submitted on June 29, 2015. Smith advised

that the right side of his body was stiffening and that he was having difficulty

walking. He was seen the following day by a facility nurse who recorded a history

of right-sided weakness and numbness in the left hand. Weakness in his right hand

was found on exam and his difficulty walking was judged to be severe enough to

warrant issuing him a wheelchair. The cervical spine x-ray was also obtained on

June 30, 2015.

                                        18.

        He was seen by Dr. Mbanefo on July 2, 2015. Smith was reporting left

finger numbness and right side weakness. Mbanefo referenced the cervical spine

x-ray that showed degenerative disk disease of the spaces between C5 and C6 and

C6 and C7.       Despite the prior imaging report and symptoms consistent with

cervical disk compression, no diagnostic tests were ordered and no specific follow-

up plan was made. A neurology consult was requested, but despite documented

                                         6
        Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 7 of 15




muscle weakness, the consult request was marked as routine.

                                         19.

      On July 7, 2015, Smith filled out another sick call request form. On the

form, he wrote that his that his left hand had lost feeling. Other problems that he

listed were that his body spasms were increasing and that his legs were weakening.

He requested to see the doctor. That afternoon, a facility nurse saw him. Smith

reported to the nurse that he was unable to move his left leg unless he picked it up.

                                         20.

      The following day, he saw Dr. Mbanefo who documented weakness in

Smith’s right hand and left leg. The chart entry notes that Smith was using a

wheelchair and was unable to stand. A diagnosis of cervical radiculopathy was

made. The note indicates a plan to transfer Smith but no imaging or diagnostic

studies were requested and no new orders were written. It does not appear that Dr.

Mbanefo consulted with any specialist.

                                         21.

      By July 15, 2015 Smith had not been seen by the neurologist and it is

unclear what effort had been made to arrange an appointment. An entry in the

medical records was made by the Director of Nursing, Tina Clark, on July 15, 2015

that the neurologist was due to leave on vacation for several weeks and that the

                                          7
         Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 8 of 15




next available appointment was not until August 26, 2015. She wrote that no

appointments were available that day. Her note did not indicate whether this

information was communicated to Dr. Mbanefo or that any alternative plan was

made.

                                       22.

        By July 20, 2015, Smith still had not had the neurology consult that had

been ordered on July 2, 2015.      Nor had any further imaging been obtained.

Transfer paperwork was completed to transfer him to Autry State Prison, a prison

operated by the State of Georgia. The transfer form indicates that a neurology

consult was pending.

                                       23.

        Smith arrived at Autry State Prison on July 21, 2015. He was seen by a

facility physician who noted that despite the right-sided weakness, and x-rays

suggesting degenerative disk disease of the cervical spine, no CT or MRI had been

done. An urgent request for an MRI was completed on the same day.

                                       24.

        He was seen on July 24, 2015 by another doctor at Autry, who documented a

history of progressive right-sided weakness over the prior two months following an

injury that occurred while lifting. On exam, Smith demonstrated weakness in the

                                        8
        Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 9 of 15




right arm. Concerned about a possible mass lesion or sub-acute stroke, that doctor

ordered that Smith be transferred to a hospital to obtain diagnostic imaging.

                                        25.

      At the hospital an MRI was obtained that showed a large herniated disk at

the C4-5 level that was causing cord compression with signal change in the spinal

cord consistent with edema or myelomalacia. The clinical information provided

for the cervical MRI indicates that the arm and leg weakness had been present for

five months. Lumbar MRI showed multilevel lumbar stenosis as well as severe

foraminal narrowing at L4-L5 and also L5-S1. The foraminal narrowing was

severe on both sides at L5-S1. The foramen are openings on each side of the spine

where the nerve roots exit.

                                        26.

      A neurosurgeon was brought into the case. The neurosurgeon found that

Smith had bilateral arm weakness and his leg was completely unable to extend is

leg below the knee. Urgent cervical discectomy with fusion was completed on

July 25, 2015 – four days after his arrival at Autry. The neurosurgeon wrote that

he told Smith that he not get movement back in his right foot since two to three

months had passed since he last had foot movement. After surgery, he began to

move his right leg and had improvement in the use of his hands.

                                         9
       Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 10 of 15




                                          27.

      Smith was discharged from the hospital on July 27, 2015 and was admitted

to Augusta State Medical Prison (ASMP). Physical therapy and occupational

therapy was provided.       Despite his treatment, Smith continues to experience

weakness and is still undergoing follow-up treatment by a neurosurgeon. Nearly a

year after his surgery, he still has significant deficits and is left with what is more

likely than not a permanent disability.

                                    LIABILITY

                                          28.

      Paragraphs 1 thru 27 are incorporated by reference as if fully alleged herein.

                                          29.

      The aforementioned care and treatment provided to Mr. Smith by the GEO

medical staff at Riverbend between March 10, 2015 and July 21, 2015 fell below

the standard of care applicable to the medical profession generally, including but

not limited to the standard of care applicable to physicians, nurses, and other

primary care providers in a correctional setting, under the circumstances and

conditions then existing.

                                          30.

      Specifically, Defendant’s deviations from the applicable standard of care

                                          10
       Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 11 of 15




include, but were not limited to, the following:

   a. The failure of Defendant’s medical staff, including but not limited to Dr.

      Ekwunife, Dr. Mbanefo, and Nurse Tina Clark, to recognize that Mr.

      Smith’s condition warranted urgent imaging and neurosurgical consultation;

   b. The failure of Defendant and its medical staff to urgently obtain advanced

      imaging studies and neurosurgical consultation promptly after confirmation

      of muscle weakness;

   c. The failure of Dr. Mbanefo to urgently obtain advanced imaging studies and

      neurosurgical consultation promptly after becoming aware of probable

      spinal cord compression on July 2, 2105 – instead, Mbanefo requested a

      routine neurology consult and no further imaging or diagnostic tests;

   d. The failure of Dr. Mbanefo to hospitalize Mr. Smith on July 8, 2015 in

      response to worsening symptoms – instead, Mbanefo requested that Smith

      be transferred to another prison;

   e. The failure of Nurse Tina Clark to make alternative arrangements for urgent

      intervention when she learned on July 15, 2015 that the facility could not

      obtain an appointment with the neurologist that she had called until late

      August; and




                                          11
       Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 12 of 15




   f. Defendant’s decision to transfer Smith to another prison instead of the

      hospital.

                                        31.

      Attached hereto as Exhibit 1 and incorporated herein is the expert affidavit

of Dr. Lawrence Mendel, which sets forth one or more deviations from the

standard care by Defendant and its medical staff. While such an affidavit is not a

required pleading in federal court, it complies with the state pleading requirements

of O.C.G.A. §9-11-9.1 and is offered here as a Rule 26 expert disclosure.

                                        32.

      As evidenced by his affidavit and curriculum vitae attached thereto, Dr.

Mendel satisfies the competency requirements for an expert to testify in a medical

malpractice action under O.C.G.A. §24-9-67.1, to the extent that it is applicable to

actions in this Court, and his affidavit complies with the expert disclosure

requirements of Rule 26 of the Federal Rules of Civil Procedure.

                                        33.

      The aforementioned deviations and violations of the applicable standard of

care by the aforementioned medical providers constitute professional negligence

and medical malpractice for which said Defendants are liable.




                                        12
       Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 13 of 15




                                         34.

      The aforementioned professional negligence and malpractice of the

aforementioned medical providers at Riverbend Correctional Facility was

committed by agents or employees of GEO within the scope of their agency or

employment, including but not limited to Dr. Ekwunife, Dr. Mbanefo, and Nurse

Tina Clark, such that Defendant is vicariously liable for said professional

negligence and malpractice under the doctrine of respondeat superior.

                                         35.

      In addition to being vicariously liable for the negligent acts and omissions of

its agents and employees, GEO is directly liable for its own negligent and tortious

misconduct with respective to corporate decisions relating to withholding treatment

from Mr. Smith, refusing to fund treatment required by the standard of care, and

arranging his transfer in order to avoid financial responsibility for such treatment.

                                         36.

      The aforementioned deviations from the standard of care proximately caused

Smith to suffer significant and permanent injury by delaying medically necessary

treatment which caused deterioration of his condition and subjected him to pain

and suffering that would not have otherwise occurred, and resulted in a worse




                                          13
       Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 14 of 15




outcome than would have occurred had he been treated in accordance with the

standard of care.

                                    DAMAGES

                                         37.

      Paragraphs 1 thru 36 are incorporated by reference as if fully alleged herein.

                                         38.

      As a direct and proximate result of the aforementioned negligent and tortious

misconduct of the Defendant GEO and its medical staff, Plaintiff Kenneth Smith

has suffered permanent disability and endured extreme physical, mental, and

emotional pain and suffering that is expected to continue for the remainder of his

life, has incurred significant expenses for medical treatment that is expected to

continue into the future, for which Plaintiff is entitled to recover compensatory

damages from Defendant in an amount to be proven at trial and determined by the

enlightened conscience of a fair and impartial jury.

                                         39.

      The aforementioned acts and omissions of Defendant and its agents or

employees rose to such a level of willful misconduct and reckless disregard for the

consequences as to authorize the imposition of punitive damages in an amount to

be determined by the jury.

                                         14
       Case 5:16-cv-00186-MTT Document 1 Filed 05/20/16 Page 15 of 15




                                         40.

      Because Defendant acted in bad faith in the underlying events giving rise to

this lawsuit, Plaintiff is entitled to expenses of litigation, including reasonable

attorney’s fees, pursuant to O.C.G.A. §13-6-11 in an amount to be proven at trial.

      WHEREFORE Plaintiff demands as follows:

      a)    That this action be tried by a jury;

      b)    That judgment be entered in favor of Plaintiff and against Defendant

            in an amount to be determined by the enlightened conscience of fair

            and impartial jurors for compensatory damages, punitive damages,

            and expenses of litigation as pled herein;

      c)    That all costs of this action be taxed against Defendant; and

      e)    That the Court award any additional or alternative relief as may be

            deemed appropriate under the circumstances.

      Respectfully submitted this 20th day of May, 2016.

                                               /s/ Craig T. Jones
                                               CRAIG T. JONES
                                               GA Bar No. 399476
                                               Attorney for Plaintiff
THE ORLANDO FIRM, P.C.
Decatur Court, Suite 400
315 West Ponce de Leon Ave.
Decatur, Georgia 30030
(404) 373-1800
craig@orlandofirm.com
                                         15
